 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 1 of 31 PageID #:3438




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


IN RE: MULTIPLAN HEALTH                     Case No. 1:24-cv-6795
INSURANCE PROVIDER LITIGATION               MDL No. 3121

This Document Relates To:                   Hon. Matthew F. Kennelly

ALL DIRECT ACTIONS



    REPLY IN SUPPORT OF DEFENDANTS’ JOINT MOTION TO DISMISS
THE CONSOLIDATED MASTER DIRECT ACTION PLAINTIFF COMPLAINT AND
       DIRECT ACTION PLAINTIFFS’ SHORT-FORM COMPLAINTS
      Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 2 of 31 PageID #:3439




                                                  TABLE OF CONTENTS

                                                                                                                                     Page

INTRODUCTION ...........................................................................................................................1
ARGUMENT ...................................................................................................................................2
I.        PLAINTIFFS FAIL TO PLEAD ANTITRUST STANDING OR INJURY .......................2
          A.         Plaintiffs’ Own Allegations Show That They Lack Antitrust Standing
                     Because They Choose Whether to Bill Their Patients .............................................2
          B.         Plaintiffs Fail to Plead Antitrust Injury ....................................................................5
II.       SETTLED LAW PRECLUDES PLAINTIFFS’ ATTEMPT TO TREAT
          BILATERAL SERVICES AGREEMENTS AS PER SE ILLEGAL UNDER A
          “HORIZONTAL COMPETITOR” PRICE-FIXING THEORY (COUNT 1) .....................6
III.      PLAINTIFFS’ OPPOSITION CONFIRMS THEY DO NOT PLAUSIBLY
          ALLEGE A HUB-AND-SPOKE CONSPIRACY (COUNT 2) ........................................10
IV.       PLAINTIFFS’ “PRINCIPAL-AGENT” THEORY IS INFIRM (COUNT 3)...................13
V.        PLAINTIFFS CANNOT ALLEGE A COGNIZABLE “PRICE” CAPABLE OF
          BEING “FIXED” OR A COGNIZABLE ANTITRUST MARKET .................................13
VI.       COUNT 4 FAILS BECAUSE PLAINTIFFS CONCEDE THAT THEY CANNOT
          ALLEGE THAT ANY INDIVIDUAL SALES OR SERVICE CONTRACT
          BETWEEN MULTIPLAN AND AN MCO/TPA HARMED COMPETITION...............15
VII.      PLAINTIFFS’ COMPLAINT FORECLOSES THEIR INFORMATION
          EXCHANGE CLAIM (COUNT 5) ...................................................................................16
VIII.     PLAINTIFFS’ STATE LAW CLAIMS FAIL ..................................................................18
          A.         State Law Antitrust Claims (Count 6) ...................................................................18
          B.         “Consumer Protection” Claims (Count 7) .............................................................18
          C.         Unjust Enrichment Claims (Count 8) ....................................................................19
IX.       THERE ARE INADEQUATE ALLEGATIONS AS TO MANY DEFENDANTS .........20
CONCLUSION ..............................................................................................................................20
   Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 3 of 31 PageID #:3440




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

                                                               CASES

42nd Parallel N. v. E St. Denim Co.,
   286 F.3d 401 (7th Cir. 2002) ...................................................................................................15

In re Aetna UCR Litigation,
    2015 WL 3970168 (D.N.J. June 30, 2015) ..........................................................................9, 11

Agnew v. NCAA,
   683 F.3d 8 (7th Cir. 2012) .......................................................................................................13

Always Towing & Recovery, Inc. v. City of Milwaukee,
   2 F.4th 695 (7th Cir. 2021) ....................................................................................................7, 8

In re Amazon.com, Inc. eBook Antitrust Litig.,
    2024 WL 918030 (S.D.N.Y. Mar. 2, 2024) .............................................................................16

Atkins v. City of Chicago,
    631 F.3d 823 (7th Cir. 2011) ...................................................................................................17

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...........................................................................................................10, 12

Blue Cross & Blue Shield United of Wisconsin v. Marshfield Clinic,
   65 F.3d 1406 (7th Cir. 1995) ...............................................................................................3, 15

In re Broiler Chicken Antitrust Litigation,
    290 F. Supp. 3d 772 (N.D. Ill. 2017) .......................................................................................13

In re Broiler Chicken Antitrust Litig.,
    702 F. Supp. 3d 635 (N.D. Ill. 2023) .......................................................................................13

Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc.,
   429 U.S. 477 (1977) ...................................................................................................................5

Bus. Elecs. Corp. v. Sharp Elecs. Corp.,
   485 U.S. 717 (1988) ...................................................................................................................7

Cleary v. Philip Morris Inc.,
   656 F.3d 511 (7th Cir. 2011) ...................................................................................................19

In re Dealer Mgmt. Sys. Antitrust Litig.,
    362 F. Supp. 3d 510 (N.D. Ill. 2019) .......................................................................................18




                                                                    ii
   Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 4 of 31 PageID #:3441




In re Deere & Co. Repair Serv. Antitrust Litig.,
    703 F. Supp. 3d 862 (N.D. Ill. 2023) .......................................................................................14

In re Delta Dental Antitrust Litig.,
    484 F. Supp. 3d 627 (N.D. Ill. 2020) .......................................................................................14

Eastman Kodak Co. v. Image Technical Services, Inc.,
   504 U.S. 451 (1992) .................................................................................................................14

Franco v. Connecticut General Life Insurance Co.,
   818 F. Supp. 2d 792 (D.N.J. 2011), aff’d in relevant part, 647 F. App’x 76 (3d
   Cir. 2016) ...............................................................................................................................8, 9

Generac Corp. v. Caterpillar Inc.,
   172 F.3d 971 (7th Cir. 1999) .....................................................................................................8

Gustafson v. BAC Home Loans Servicing, LP,
   294 F.R.D. 529 (C.D. Cal. 2013) .............................................................................................20

Illinois Corporate Travel v. American Airlines,
     889 F.2d 751 (7th Cir. 1989) .....................................................................................................8

Kleen Prods. LLC v. Georgia-Pacific LLC,
   910 F.3d 927 (7th Cir. 2018) ...................................................................................................20

Kunzelmann v. Wells Fargo Bank, N.A.,
   2013 WL 139913 (S.D. Fla. Jan. 10, 2013) .............................................................................20

Leegin Creative Leather Prods., Inc. v. PSKS, Inc.,
   551 U.S. 877 (2007) ...................................................................................................................7

In re Loc. TV Advert. Antitrust Litig.,
    2022 WL 3716202 (N.D. Ill. Aug. 29, 2022) ..........................................................................17

Manitowoc Co., Inc. v. Kachmer,
  2015 WL 1746552 (N.D. Ill. Apr. 14, 2015) .............................................................................7

Marion Healthcare, LLC v. Becton Dickinson & Co.,
  952 F.3d 832 (7th Cir. 2020) ...................................................................................................10

McCauley v. City of Chicago,
  671 F.3d 611 (7th Cir. 2011) .....................................................................................................4

McGarry & McGarry, LLC v. Bankr. Mgmt. Sols.,
  937 F.3d 1056 (7th Cir. 2019) .................................................................................................18

Mish Int’l Monetary Inc. v. Vega Cap. London, Ltd.,
   596 F. Supp. 3d 1076 (N.D. Ill. 2022) .....................................................................................19



                                                                      iii
   Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 5 of 31 PageID #:3442




In re Musical Instruments & Equip. Antitrust Litig.,
    798 F.3d 1186 (9th Cir. 2015) .................................................................................................12

In re Opana ER Antitrust Litig.,
    162 F. Supp. 3d 704 (N.D. Ill. 2016) .................................................................................18, 19

In re Out of Network Substance Use Disorder Claims,
    2022 WL 17080378 (C.D. Cal. Oct. 14, 2022) ..........................................................................7

Pac. Recovery Sols. v. Cigna Behav. Health, Inc.,
   2021 WL 1176677 (N.D. Cal. Mar. 29, 2021) ...........................................................................3

Pac. Recovery Sols. v. United Behav. Health,
   481 F. Supp. 3d 1011 (N.D. Cal. 2020) .................................................................................3, 5

Queen City Pizza, Inc. v. Domino’s Pizza, Inc.,
   124 F.3d 430 (3d Cir. 1997).....................................................................................................14

Reapers Hockey Ass’n, Inc. v. Amateur Hockey Ass’n Ill., Inc.,
   412 F. Supp. 3d 941 (N.D. Ill. 2019) .......................................................................................13

Robinson v. Tex. Auto. Dealers Ass’n,
   387 F.3d 416 (5th Cir. 2004) .....................................................................................................5

In re Se. Milk Antitrust Litig.,
    739 F.3d 262 (6th Cir. 2014) .....................................................................................................8

In re Text Messaging Antitrust Litig.,
    630 F.3d 622 (7th Cir. 2010) ...................................................................................................12

In re Text Messaging Antitrust Litig.,
    46 F. Supp. 3d 788 (N.D. Ill. 2014), aff’d, 782 F.3d 867 (7th Cir. 2015) ...............................20

Thompson v. Jiffy Lube Int’l, Inc.,
   250 F.R.D. 607 (D. Kan. 2008)................................................................................................20

TML Recovery, LLC v. Cigna Corp.,
  2024 WL 1699512 (C.D. Cal. Mar. 18, 2024) ...........................................................................7

United States v. E. I. du Pont de Nemours & Co.,
   351 U.S. 377 (1956) .................................................................................................................15

United States v. U.S. Gypsum Co.,
   438 U.S. 422 (1978) .................................................................................................................16

In re Wellbutrin XL Antitrust Litig.,
    260 F.R.D. 143 (E.D. Pa. 2009) ...............................................................................................19




                                                                   iv
   Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 6 of 31 PageID #:3443




In re WellPoint, Inc. Out-of-Network “UCR” Rates Litig.,
    903 F. Supp. 2d 880 (C.D. Cal. 2012) .......................................................................................3



                                                            STATUTES

42 U.S.C.§ 300gg-111 .....................................................................................................................4

Sherman Act § 1.............................................................................................................9, 11, 13, 16




                                                                    v
  Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 7 of 31 PageID #:3444




                                        INTRODUCTION

       Direct Action Plaintiffs’ (“Plaintiffs” or “DAPs”) Opposition confirms that their Complaint

suffers from the same fundamental deficiencies as the Class Plaintiffs’ Complaint. Like the Class

Plaintiffs, DAP Plaintiffs ignore or contort their own allegations and the applicable caselaw. And

like the Class Plaintiffs, DAP Plaintiffs have no answer to the decade’s worth of caselaw

dismissing similar antitrust claims based on out-of-network (“OON”) reimbursements and fail to

rebut Defendants’ dispositive arguments regarding antitrust standing, antitrust injury, hub-and-

spoke conspiracy, and market definition. These failures are described in detail both below and in

the Class Reply. And DAP Plaintiffs’ attempts to circumvent this long line of authority and their

own failed allegations—via a grab-bag of additional theories and claims—are makeweight.

       “Horizontal Competitor” Theory: Plaintiffs point to nothing in their Complaint to support

their leading claim that each service contract between MultiPlan and its managed care organization

(“MCO”) or third-party administrator (“TPA”) clients is a horizontal restraint subject to per se

treatment. Plaintiffs do not meaningfully dispute that these contracts are vertical agreements

between a service provider and its customers. They fail to confront Supreme Court and Seventh

Circuit precedent that forecloses the application of the per se rule to such vertical agreements. And

they offer no support for their ipse dixit that MultiPlan is a “payor”—rather, they concede that

MultiPlan does not collect premiums, insure patients, or bear the responsibility for paying claims.

       Principal-Agent Theory: Plaintiffs fail to identify a single case adopting their “principal-

agent” theory, which is not a cognizable theory of antitrust liability. Instead, they rely upon simple

horizontal agreement cases that provide no support for their novel claim.

       Vertical Agreement Theory: Plaintiffs concede that an antitrust claim based on vertical

agreements must show that each vertical agreement has anticompetitive effects in its own right.

But Plaintiffs’ entire case (including the vertical agreement claim) is predicated on a “cartel” that
     Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 8 of 31 PageID #:3445




includes all of MultiPlan’s MCO/TPA clients, and Plaintiffs accordingly rely upon the alleged

collective effects of MultiPlan’s service contracts. Plaintiffs do not allege that each vertical

agreement has anticompetitive effects, nor can they.

         Information Exchange Theory: Plaintiffs’ information exchange claim rebuts itself. The

documents they rely upon in their Complaint to allege a “pooling” and “commingling” of customer

data via MultiPlan’s Data iSight product suggest no such thing and, in fact, show the contrary.

Caught flatfooted, Plaintiffs have no answer—but can only claim in a footnote, without elaboration

or support, a “factual dispute.” Not so. Plaintiffs’ only source for claiming improper information

sharing shows otherwise—and allegations need not be credited when contradicted or rendered

implausible by the complaint or documents it incorporates. This is a fundamental and fatal

pleading failure—not a factual dispute.

         State Law Claims: Finally, Plaintiffs’ state law claims are all derivative of their antitrust

claims, and fail for the same reasons. Plaintiffs’ cited cases provide no support for the assertion

that the antitrust standing analysis is different under the state antitrust laws they rely upon.

Moreover, Plaintiffs impermissibly rely on their antitrust allegations for their consumer protection

claim, and all but concede that their unjust enrichment claim is bound up with their antitrust claims.

                                           ARGUMENT
I.       PLAINTIFFS FAIL TO PLEAD ANTITRUST STANDING OR INJURY
         A.     Plaintiffs’ Own Allegations Show That They Lack Antitrust Standing Because
                They Choose Whether to Bill Their Patients

         Courts routinely dismiss similar claims brought by OON providers for lack of antitrust

standing. If the alleged “conspiracy” to suppress OON reimbursements existed, the patients—not

OON providers like Plaintiffs—would be the direct victims. That means Plaintiffs do not have




                                                  2
    Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 9 of 31 PageID #:3446




antitrust standing to bring these claims.1

        Plaintiffs respond that they do not need a “contractual relationship” with payors to have

antitrust standing. DAP Opp’n 33-34, ECF No. 351 (“Opp’n”). But that is a strawman, as

Defendants did not argue that a contractual relationship is required. See DAP MTD 15. Instead,

cases like Pacific Recovery and WellPoint show that OON providers are not injured by an alleged

conspiracy to suppress OON reimbursements because they can bill patients for unpaid amounts.

Patients incur the obligation to pay the provider; OON providers are “injured only to the extent

that their patients fail to pay them that [balance bill] difference.” Pac. Recovery Sols. v. United

Behav. Health, 481 F. Supp. 3d 1011, 1022 (N.D. Cal. 2020) (“Pac. Recovery I”). Any injury

thus flows “from the patients’ failure to comply with their financial obligations to [providers], and

not from [the payors’] conduct.” Id.

        None of Plaintiffs’ cases addresses the situation here. Opp’n 32-33. Blue Cross & Blue

Shield United of Wisconsin v. Marshfield Clinic held that an insurer had standing to bring claims

against providers (who allegedly increased the cost of medical services through illegal market

allocation), which is not at issue in this case. In Marshfield, the insurer was injured by the alleged

price inflation because, “in accordance with [its] contractual obligations to its insureds,” it would

have to pay a portion of the overcharge. 65 F.3d 1406, 1414-15 (7th Cir. 1995). The critical fact

here—that providers can balance bill patients—had no bearing on the question in Marshfield of

whether the insurer was directly harmed by a provider’s billing of supracompetitive charges. Id.

        In an attempt to avoid the numerous cases directly on point that have dismissed similar

claims, Plaintiffs assert a claimed factual distinction: that they supposedly “cannot collect the


1
  See ECF No. 286 at 15 (“DAP MTD”); Pac. Recovery Sols. v. Cigna Behav. Health, Inc., 2021 WL
1176677, at *12 (N.D. Cal. Mar. 29, 2021) (“Pac. Recovery II”); In re WellPoint, Inc. Out-of-Network
“UCR” Rates Litig., 903 F. Supp. 2d 880, 901-03 (C.D. Cal. 2012)); see also Mem. Supp. Defs.’ Joint Mot.
to Dismiss Consol. Class Action Compl. 16, ECF No. 283 (“Class MTD”)).


                                                   3
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 10 of 31 PageID #:3447




balance of their charges” from patients. Consol. Master DAP Compl. ¶ 337, ECF No. 182

(“DAPC”); see also Opp’n 34. But there are no well-pled allegations supporting this assertion,

and the Complaint’s allegations show the contrary. For non-emergency claims, Plaintiffs allege

that a provider only gives up the right to balance bill if it accepts an amount based on MultiPlan’s

recommended reimbursement; they specifically allege that “MultiPlan prohibits providers from

balance billing patients as a condition of receiving payments.” DAPC ¶ 526 (emphasis added).

Plaintiffs never allege that they are precluded from balance billing if they decline MultiPlan’s

negotiation attempts, let alone with “specific facts,” as Twombly requires. See McCauley v. City

of Chicago, 671 F.3d 611, 616 (7th Cir. 2011).

       For emergency claims, Plaintiffs argue that the No Surprises Act (“NSA”) bars them from

balance billing patients. Opp’n 34. But the NSA only came into effect on January 1, 2022, so this

argument has no bearing on the vast majority of Plaintiffs’ claims. See DAPC ¶ 728 (alleging

conspiracy “from at least January 1, 2015”). Plaintiffs also do not specifically allege that they

even provide OON emergency services, whether pre- or post-NSA. See id. ¶ 49 (describing DAPs

only as “provider[s] of out-of-network goods and services for which they have been underpaid”).

And even with respect to post-NSA claims, the statute specifically allows an OON provider to

challenge any payment amount received by a payor through baseball-style arbitration, with each

side submitting its best offer and the arbitrator choosing between the two. See 42 U.S.C. § 300gg-

111(c)(1)(B). Moreover, NSA pricing for OON providers is indexed to payers’ median contract

rates for those services for in-network providers, so such OON reimbursement rates are not

affected by Data iSight. Id. § 300gg-111(a)(3)(E)(i)(I). In these circumstances, the reimbursement

resulting from MultiPlan’s process cannot possibly be the source of antitrust standing.

       Finally, Plaintiffs argue that balance billing is merely a way of “passing-through” to




                                                 4
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 11 of 31 PageID #:3448




patients Plaintiffs’ supposed direct injuries. But as Plaintiffs concede, “[h]ealthcare providers . . .

provide care to patients,” Opp’n 1, and “patients are on the hook” for their own healthcare bills.

DAPC ¶ 33. The issue is not that Plaintiffs can “pass-through” to subscribers an injury arising

from MCOs; the issue is that Plaintiffs have no injury at all unless they balance bill and their

patients refuse to pay—and even then, the injury is “from the patients’ failure to comply” with

their payment obligations, not from the alleged conspiracy. Pac. Recovery I, 481 F. Supp. 3d

at 1022. This is not a “pass through” defense, it is a threshold standing issue regarding the nature

of Plaintiffs’ claimed injury. See also Reply Supp. Mot. to Dismiss Consolidated Class Action

Compl. 5 (“Class Reply”).

       B.      Plaintiffs Fail to Plead Antitrust Injury

       To survive dismissal, Plaintiffs needed to allege that they were reimbursed at a rate lower

than the competitive rate they would have received absent a Defendant’s use of MultiPlan’s

services because of a reduction in competition. See, e.g., Brunswick Corp. v. Pueblo Bowl-O-Mat,

Inc., 429 U.S. 477, 489 (1977); cf. Robinson v. Tex. Auto. Dealers Ass’n, 387 F.3d 416, 422 (5th

Cir. 2004). The Complaint alleges no facts showing that the past reimbursement levels to which

providers want to return, based on the common UCR benchmarks they prefer (such as FAIR

Health), ever constituted competitively-set rates.      The Complaint is also devoid of factual

allegations that providers used UCR rates to play one plan or Defendant off another (i.e., using the

threat of non-treatment to those plan’s members) to obtain higher reimbursements—or that these

“old” rates were otherwise competitively set. DAP MTD 18-19.

       Without any factual allegations of this nature, Plaintiffs cannot show that they suffered an

injury that flows from impaired competition in the market. Brunswick Corp., 429 U.S. at 489.

Plaintiffs’ Opposition has no real response. Plaintiffs do not and cannot dispute that OON

reimbursements based on providers’ unilaterally-set billed charges were not competitively set. Nor


                                                  5
    Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 12 of 31 PageID #:3449




can they dispute that they are seeking to eliminate MultiPlan’s offering and return to a world where

they can require all MCO and TPA Defendants to use the same benchmarking system that yielded

ever-ratcheting increases in OON charges. To the extent that Plaintiffs cite cases where sellers

who were paid anticompetitively low prices due to an alleged buyers’ cartel could, in some

situations, establish antitrust injury, Opp’n 31-32, that is not this case here. See Class Reply 7.

Plaintiffs allege only that the use of Data iSight allegedly caused some providers to receive less in

OON reimbursements than they previously did.              Even in buyer-side antitrust cases, these

allegations, without more, do not give rise to antitrust injury.

II.     SETTLED LAW PRECLUDES PLAINTIFFS’ ATTEMPT TO TREAT
        BILATERAL SERVICES AGREEMENTS AS PER SE ILLEGAL UNDER A
        “HORIZONTAL COMPETITOR” PRICE-FIXING THEORY (COUNT 1)

        Plaintiffs’ main theory of liability fails as a matter of law. Plaintiffs’ primary argument is

that MultiPlan is a “payor” who competes against MCOs for OON reimbursements. Based solely

on that representation, Plaintiffs argue that the Court can treat MultiPlan’s separate, bilateral sales

contracts with its MCO-customers as 700+ horizontal price-fixing agreements that are per se

unlawful. Opp’n 7-12. That is wrong on two fundamental levels.

        First, Plaintiffs do not (and cannot) allege that MultiPlan is a “payor” of OON

reimbursements, and they do not allege that MultiPlan “competes” against any MCO or TPA in

reimbursing the “OON services” at issue in this case. The Complaint does not allege MultiPlan is

in the insurance business, that it sponsors or administers health plans, or that it pays providers

anything from its own pockets for any medical services rendered to a patient.2 Likewise, there are

no allegations that MultiPlan collects premiums from any patient or patient’s employer, or that

MultiPlan insures or covers a single patient ever seen by any Plaintiff in this case (or any provider


2
 In a footnote, Plaintiffs assert that MultiPlan is a “supplier of OON insurance.” Opp’n 10 n.3. But their
Complaint concedes that this is false, acknowledging that “MultiPlan is not an insurer.” DAPC ¶ 709.


                                                    6
    Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 13 of 31 PageID #:3450




anywhere). Thus, there is no “reimbursement” at issue that MultiPlan pays, let alone competes

against any other Defendant to pay. Instead, the Complaint alleges that MultiPlan’s “PPO

networks compete against other payors’ PPO networks.” DAPC ¶ 117 (citing MultiPlan, Annual

Report (Form 10-K) (Mar. 1, 2023)). But MultiPlan’s PPO networks do not pay claims, they are

offerings that are available to actual claim payors. DAP MTD 26; DAPC ¶¶ 104-11. Multiple

courts have therefore expressly rejected the argument that MultiPlan is a “payor[].” TML

Recovery, LLC v. Cigna Corp., 2024 WL 1699512, at *2 (C.D. Cal. Mar. 18, 2024); In re Out of

Network Substance Use Disorder Claims, 2022 WL 17080378, at *2 (C.D. Cal. Oct. 14, 2022).3

        Second, even if the Court accepted Plaintiffs’ “MultiPlan-as-payor” theory at this stage,

well-settled controlling law still dooms their claim. Both the Supreme Court and the Seventh

Circuit have made it clear that courts determine whether a restraint is horizontal or vertical—and

thus whether the per se standard is available to plaintiffs—by examining the parties’ relationship

in the agreement at issue. See, e.g., Bus. Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 730-

31 (1988); Always Towing & Recovery, Inc. v. City of Milwaukee, 2 F.4th 695, 705-06 (7th Cir.

2021) (contract was vertical because, in the context of that agreement, the parties were acting as

seller/buyer, not as a horizontal competitors).

        As a result, outside of properly-alleged hub-and-spoke claims and other circumstances not

applicable here, agreements with a vertical component—in which one party is selling a product or

service to the other—are evaluated under the rule of reason. See, e.g., Leegin Creative Leather

Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 886-87, 899, 907 (2007); Always Towing, 2 F.4th at 705-

06. This is true even for agreements between defendants with mixed vertical and horizontal


3
  Nor can Plaintiffs prevail on their “undeveloped” fallback position, made “only in a footnote,” that
MultiPlan is a potential competitor-payor. Opp’n 10 n.3; Manitowoc Co., Inc. v. Kachmer, 2015 WL
1746552, at *4 n.2 (N.D. Ill. Apr. 14, 2015). Plaintiffs present no factual allegations to support the notion
that MultiPlan will (or even might) shift its business to become a payor.


                                                     7
    Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 14 of 31 PageID #:3451




relationships, such that the defendants compete in one or more markets.

        For example, in Illinois Corporate Travel v. American Airlines, 889 F.2d 751 (7th Cir.

1989), the plaintiff alleged that American Airlines entered into an agreement with its travel agents

to limit discounts on American’s tickets. Although American competed with its travel agents in

certain aspects of its business, the court rejected the plaintiff’s argument that the agreement was

per se unlawful, holding that “[d]ual distribution . . . does not subject to the per se ban a practice

that would be lawful if the manufacturer were not selling direct to customers” in competition with

its agents. Id. at 753; see also In re Se. Milk Antitrust Litig., 739 F.3d 262, 273 (6th Cir. 2014)

(rejecting application of per se rule due to nature of the agreement at issue); Generac Corp. v.

Caterpillar Inc., 172 F.3d 971, 977 (7th Cir. 1999) (dismissing horizontal conspiracy claims

“[e]ven though in some ways the companies may have operated in similar lines of business,

[because] this particular agreement was a vertical one”).4

        The Complaint here is clear that the agreements in this case are sales or service agreements

in which MultiPlan licenses the use of its software, for a fee, to customers. DAPC ¶¶ 142-44, 155,

163, 170, 172, 174-79. These vertical cost-management services cannot be deemed horizontal

merely because MultiPlan operates a PPO in another branch of its business that is not “separately

incorporated.” Opp’n 12. Indeed, MultiPlan’s vertical relationship with MCOs is the same as the

vertical relationship between FAIR Health and those same MCOs. DAPC ¶ 756 (suggesting that

payors should “us[e] FAIR Health to determine [OON] prices”).

        This conclusion is buttressed by the Ingenix-related cases that Plaintiffs hold out as analogs

to their claims here. In Franco v. Connecticut General Life Insurance Co., for example, the court


4
  Plaintiffs are also wrong that the caselaw treating mixed horizontal and vertical agreements as
presumptively lawful (and therefore evaluated under the rule of reason) is limited to dual-distributorships.
What matters is the relationship of the parties within the context of the restraint at issue, not whether one
or more of the parties is a dual distributor. Always Towing, 2 F.4th at 705-06.


                                                     8
    Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 15 of 31 PageID #:3452




found that even though Ingenix was a “wholly-owned subsidiary of UnitedHealth,” a direct

competitor of defendant CIGNA, the plaintiffs’ effort to label Ingenix’s repricing services for

OON claims per se unlawful was misplaced. 818 F. Supp. 2d 792, 802, 804, 830-33 (D.N.J. 2011),

aff’d in relevant part, 647 F. App’x 76 (3d Cir. 2016). The court explained that the plaintiffs had

alleged, at most, that CIGNA and other MCOs “entered into separate contracts with UnitedHealth

and Ingenix agreeing to supply data to Ingenix,” but that they had not plausibly alleged that those

agreements concerned any “competing products or services.” Id. at 832.

        Similarly, the court in In re Aetna UCR Litigation rejected the plaintiffs’ argument that the

services agreement between Aetna and Ingenix was per se unlawful. 2015 WL 3970168, at *23

(D.N.J. June 30, 2015). The court held that allegations that “Ingenix had an incentive” to

“support[] its parent company by assisting UHG to perpetuate low reimbursement rates” not only

failed to establish any horizontal agreement, but in fact suggested that “Ingenix had a . . . motive

to engage in this conduct separate and apart from the alleged conspiracy.” Id. at *21. Accordingly,

the court dismissed the antitrust claims against Aetna, Ingenix, and UnitedHealth.

        The same result should follow here. By sidestepping the vertical nature of the actual

services agreement underlying their Section 1 claim, Plaintiffs ignore the teachings of in Business

Electronics, Leegin, Always Towing, and the cases that flow from them, which foreclose this

claim.5 The Court should dismiss Count 1.6




5
 Indeed, no court has held that a software sales agreement, on its own, is a horizontal per se price fixing
agreement. Plaintiffs’ cases involved hub-and-spoke claims or claims where the alleged restraint was not
vertical at all or involved naked price-fixing or output restrictions. Opp’n 11-12& n4.
6
 Plaintiffs revert to arguing that the Court should treat these bilateral sales agreements, without more, as
dispositive evidence of an array of illegal agreements between those customers to price fix. Opp’n 13-15.
But every court that has considered this precise argument has rejected it. See Class MTD 26; Class
Reply 12-13.


                                                     9
  Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 16 of 31 PageID #:3453




III.   PLAINTIFFS’ OPPOSITION CONFIRMS THEY DO NOT PLAUSIBLY ALLEGE
       A HUB-AND-SPOKE CONSPIRACY (COUNT 2)

       Plaintiffs’ alternative “hub and spoke” theory of conspiracy (Count 2) fails as a matter of

law because the Complaint’s factual allegations of bilateral vertical agreements between MultiPlan

and each of its customers are not enough to support a plausible inference of an agreement among

those customers. See, e.g., Marion Healthcare, LLC v. Becton Dickinson & Co., 952 F.3d 832,

842-43 (7th Cir. 2020) (hub-and-spoke conspiracy requires an agreement at the rim “connecting

the various horizontal agreements”); see also Class MTD 22-24 (collecting cases).

       Plaintiffs’ effort to establish a conspiracy claim fails for the same reasons the Class’s

conspiracy claim fails. See Class Reply 10-17. First, Plaintiffs appear to acknowledge that they

offer no direct evidence of any agreement among MCOs/TPAs at the horizontal “rim” of any

alleged conspiracy. See Opp’n 16.

       Second, Plaintiffs’ fail to allege a horizontal agreement through circumstantial evidence

because they do not allege any parallel pricing conduct by MCOs/TPAs, much less the required

“plus factors” suggesting that their conduct is the result of conspiracy, rather than independent

action. See Class Reply 13-17. Defendants do not repeat each of their arguments regarding

circumstantial evidence from the Class Reply here, but do note that Plaintiffs’ own factual

allegations provide a natural, non-conspiratorial incentive to use MultiPlan’s services that

forecloses an inference of conspiracy. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 566 (2007).

For example, Plaintiffs allege that “payors are incentivized to pay less for out-of-network goods

and services to increase their own profits.” DAPC ¶ 395. And Plaintiffs allege that, “[f]or

decades,” Defendants used outside vendors (such as FAIR Health and Ingenix) and UCR rates to

“help[] control healthcare costs for out-of-network goods and services” as “a means of combatting

what some payors believed were high prices for out-of-network goods and services.” Id. ¶¶ 298-



                                               10
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 17 of 31 PageID #:3454




99.   Moreover, the Complaint provides a rational, non-conspiratorial explanation for why

MCOs/TPAs decided to use MultiPlan’s services, as Plaintiffs allege that MultiPlan’s marketing

message appealed to each client’s alleged unilateral economic self-interest. Id. ¶ 284.

       The court in In re Aetna reached the same conclusion in dismissing the plaintiffs’ Sherman

Act Section 1 claim. In that case, the plaintiffs alleged (as Plaintiffs do here) that each of the

MCOs had natural economic incentives to reduce reimbursements to out-of-network providers.

2015 WL 3970168, at *21 (dismissing conspiracy claims because defendants’ “individual

economic motivation to engage in the activity alleged is glaring and unavoidable”); see Class

Reply 14-15 (discussing In re Aetna). Plaintiffs have no response to In re Aetna, so they dismiss

it in a footnote as “inapposite.” See Opp’n 21 n.9. That is remarkable, given that Plaintiffs

repeatedly hold out the Ingenix cases as being analogous to their claims here. Plaintiffs allege that

the MCOs “still had the same incentive to collude to depress out-of-network rates” through

MultiPlan that they had with Ingenix. DAPC ¶ 411; see also id. ¶¶ 132, 236 (alleging MultiPlan

was formed as “an alternative to Ingenix” and “a replacement for Ingenix”); id. ¶ 411 (MultiPlan

“filled the gap” when Ingenix’s services were discontinued”); id. ¶ 413 (MultiPlan “serves

effectively the same purpose as the Ingenix scheme”). According to Plaintiffs’ own allegations,

“the payors’ motivations” to keep out-of-network rates low when they contracted with Ingenix—

a central basis for the court’s dismissal of the conspiracy in In re Aetna—“did not evaporate” when

those same payors contracted with MultiPlan. Id. ¶ 6.

       Plaintiffs’ conclusory allegation that it is against an MCO’s self-interest to contract with

MultiPlan (absent an industry-wide conspiracy because an MCO acting unilaterally faces

“abrasion,” or “serious harm to the value and breadth of its insurance offering”) does not change

the result. Id. ¶ 422. Plaintiffs’ own factual allegations contradict this argument. They allege that




                                                 11
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 18 of 31 PageID #:3455




some MCOs/TPAs adopted MultiPlan’s services years before their competitors (see, e.g., id.

¶ 289), and yet apparently suffered no abrasion at all. See, e.g., id. ¶ 238 (alleging that an early

adopter like Cigna stood to “increase its revenue by hundreds of millions of dollars each year by

using MultiPlan[]”). Moreover, Plaintiffs’ allegation that MCOs adopted MultiPlan over a “tight

three-and-a-half year window,” (id. ¶ 19), is hardly an “all at once” change in pricing that courts

have found suggest the presence of a conspiracy in other cases. See, e.g., In re Musical Instruments

& Equip. Antitrust Litig., 798 F.3d 1186, 1196 (9th Cir. 2015) (competitors adopting similar

pricing policies “over a period of several years” insufficient to plead parallel conduct because the

“slow adoption of similar policies does not raise the specter of collusion”); cf. In re Text Messaging

Antitrust Litig., 630 F.3d 622, 628 (7th Cir. 2010) (“all at once the defendants changed their pricing

structures, which were heterogeneous and complex, to a uniform pricing structure, and then

simultaneously jacked up their prices by a third”).

       Plaintiffs’ final argument is that their “narrative”—however implausible and contradicted

by their own allegations—can survive dismissal because an “alternative narrative cannot be

credited on a motion to dismiss.” Opp’n 21. That is squarely rejected by Twombly. In Twombly,

the plaintiffs alleged that the defendants shared a “compelling common motivation” to conspire.

550 U.S. at 551. But instead of taking the plaintiffs’ allegation at face value and passing the case

through to discovery, as Plaintiffs suggest here, the Court explained that the complaint’s

“sufficiency turns on the suggestions raised by [the alleged] conduct when viewed in light of

common economic experience.” Id. at 565 (emphasis added). Because that analysis in Twombly

revealed the alleged conduct was consistent with “the natural, unilateral reaction” of the defendants

to market conditions, that complaint failed to allege a plausible conspiracy. Id. at 546. The same

analysis requires dismissal here because “common economic experience” and Plaintiffs’ own




                                                 12
    Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 19 of 31 PageID #:3456




allegations show that the MCOs/TPAs acted consistently with their own rational self-interest.

DAPC ¶ 411; see also Class Reply 13-15.

IV.     PLAINTIFFS’ “PRINCIPAL-AGENT” THEORY IS INFIRM (COUNT 3)

        Defendants are aware of no court that has imposed antitrust liability based on a “principal-

agent” conspiracy theory, and Plaintiffs identify none. Instead, the cases Plaintiffs cite fall under

their horizontal agreement theory (Count 1). For example, in In re Broiler Chicken Antitrust

Litigation, the plaintiffs alleged a horizontal agreement among chicken producers, in which the

court found sufficient “plus factors” to support an inference of the horizontal conspiracy. 290 F.

Supp. 3d 772, 800-01 (N.D. Ill. 2017) (evaluating “plus factors”). Nowhere did the plaintiffs

allege—or the court endorse—a novel “principal-agent” conspiracy theory. In re Broiler Chicken

Antitrust Litig., 702 F. Supp. 3d 635, 674 (N.D. Ill. 2023) (“But not even Plaintiffs argue that

participating in Agri Stats alone is sufficient to establish an intent to conspire.”). In fact, the court

ultimately rejected plaintiffs’ conspiracy claims against Agri Stats outright, finding that, just like

MultiPlan, Agri Stats did not facilitate the exchange of competitor pricing information. Id. at 675.

The case law—that Plaintiffs ignore—is clear that principal-agent agreements are “lawful per se.”

See DAP MTD 31-32 (collecting cases). Courts have soundly rejected Plaintiffs’ “principal-agent”

theory. Count 3 should therefore be dismissed.

V.      PLAINTIFFS CANNOT ALLEGE A COGNIZABLE “PRICE” CAPABLE OF
        BEING “FIXED” OR A COGNIZABLE ANTITRUST MARKET

        Plaintiffs’ attempt to fix the problems with their alleged OON reimbursement market fails,

requiring dismissal under a per se or rule of reason standard.7 As numerous courts have found,


7
  Seventh Circuit cases have indicated plaintiffs must allege a relevant market in order to survive dismissal
on any antitrust theories, even Section 1 agreements evaluated per se. DAP MTD 22 (citing Agnew v.
NCAA, 683 F.3d 8, 337 (7th Cir. 2012)); see also Reapers Hockey Ass’n, Inc. v. Amateur Hockey Ass’n Ill.,
Inc., 412 F. Supp. 3d 941, 952 (N.D. Ill. 2019) (dismissing for failure to allege plausible relevant market);



                                                     13
    Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 20 of 31 PageID #:3457




“reimbursement for OON services” is not “a standalone product and service,” and thus, the amount

of such a reimbursement does not constitute a “price” in any relevant product or services market

for purposes of antitrust law. See Class MTD 35-37 (discussing cases). There are no meaningful

distinctions between those cases and this one. Plaintiffs try to avoid these cases by asking the

Court—without any principled reason or basis in factual allegations—to pronounce Defendants as

the “buyers” of OON services who are capable of setting and paying a price for those services.

But there is no factual basis whatsoever for the notion that OON services are provided to

MCOs/TPAs instead of the patients that receive treatments, and Plaintiffs cannot point to a single

case adopting this fiction. Their attempts to distinguish Franco, and like cases fail. See Class

Reply 18.

        Plaintiffs’ additional argument that the market should be limited to OON services because

providers cannot switch between selling services in-network and out-of-network, Opp’n 28, is

contradicted by their Complaint, which explains that providers may choose to go in-network or

out-of-network with MCOs.8 DAPC ¶ 99. And the cases Plaintiffs rely upon show why their

claims must be dismissed. Plaintiffs misstate the holding in Delta Dental, which found that the

market was not “under-inclusive” specifically because it included all goods and services sold to

“uninsured individuals paying out-of-pocket, or to government programs on behalf of their

participants,” and was not limited to only those goods and services sold to insurers. In re Delta

Dental Antitrust Litig., 484 F. Supp. 3d 627, 640-41 (N.D. Ill. 2020); see also id. (product markets


Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436 (3d Cir. 1997) (affirming dismissal where
alleged relevant market “does not encompass all interchangeable substitute products”); Class MTD 38-40.
8
 Plaintiffs seem to argue that each individual patient is a separate product “aftermarket” under the Supreme
Court’s decision in Eastman Kodak Co. v. Image Technical Services, Inc., 504 U.S. 451 (1992), because,
once the provider treats the patient on an OON basis, the provider has few reimbursement options.
Opp’n 28. There is no support for Plaintiffs’ proposition. Such aftermarkets only exist if a plaintiff satisfies
a three-part test evaluating customer “lock-in,” interchangeability, and ability to predict “life-cycle” costs.
In re Deere & Co. Repair Serv. Antitrust Litig., 703 F. Supp. 3d 862, 891 (N.D. Ill. 2023).


                                                      14
    Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 21 of 31 PageID #:3458




should not be “limited to a single method of payment” or reimbursement (citation omitted)).

Likewise, in Blue Cross & Blue Shield United of Wisconsin v. Marshfield Clinic, the Seventh

Circuit rejected the plaintiffs “HMO Services” market because “[t]he services offered by HMOs

and by various fee-for-service plans are both provided by the same physicians, who can easily shift

from one type of service to another if a change in relative prices makes one type more lucrative

than others.” 65 F.3d 1406, 1411 (7th Cir. 1995). Plaintiffs’ proposed relevant market is likewise

improperly defined around the “contractual forms” through which “physicians sell their services,”

and ignores the fact (conceded by Plaintiffs) that Plaintiffs are free to shift between offering

services on an in- and out-of-network basis. Id. at 1410.9

        Finally, Plaintiffs improperly lump together all healthcare provider services in the country

into their alleged market, even though, for example, primary care visits are not “reasonably

interchangeable” with a heart transplant. See United States v. E. I. du Pont de Nemours & Co.,

351 U.S. 377, 395 (1956). And Plaintiffs fail to rebut Defendants’ argument that a nationwide

geographic market is implausible and is, on its own, grounds for dismissal. 42nd Parallel N. v.

E St. Denim Co., 286 F.3d 401, 406 (7th Cir. 2002).

VI.     COUNT 4 FAILS BECAUSE PLAINTIFFS CONCEDE THAT THEY CANNOT
        ALLEGE THAT ANY INDIVIDUAL SALES OR SERVICE CONTRACT
        BETWEEN MULTIPLAN AND AN MCO/TPA HARMED COMPETITION

        Because Plaintiffs still cannot allege a cognizable antitrust product market, they cannot

demonstrate that any of MultiPlan’s bilateral services agreements harmed competition in any


9
  As also described in the Class Reply, the Department of Justice’s (“DOJ”) Statement of Interest, ECF No.
382 (“DOJ SOI”), takes aim at arguments Defendants do not advance—and thus undermines Plaintiffs’
claims. Relevant here, DOJ asserts, in a footnote, that Defendants have argued that “health insurance” is
the relevant product here. DOJ SOI 4 n.5. This is incorrect. Defendants have argued that MCOs’
reimbursements of OON services are not the “price” of such services, which providers dictate and may
collect from patients according to terms entered into prior to treatment (regardless of what MCOs may
choose to reimburse). Class MTD 35-38. And DOJ’s reliance on Marshfield Clinic, 65 F.3d 1406, is
misplaced for the reasons detailed above.


                                                   15
     Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 22 of 31 PageID #:3459




relevant market, as is required for their rule of reason claim. Count 4 also fails because it alleges

at most that MultiPlan’s service contracts have affected competition only in the aggregate. DAP

MTD 28-29. That is not enough. Even Plaintiffs concede that they must allege that each

agreement was anticompetitive to state a viable claim for relief. Opp’n 29; see also In re

Amazon.com, Inc. eBook Antitrust Litig., 2024 WL 918030, at *7 (S.D.N.Y. Mar. 2, 2024). They

have not alleged any facts that suggest that each agreement, on its own, had any impact at all on

any market-wide OON reimbursement rate. Instead, their theory of market-wide harm hinges on

the existence of a “cartel,” i.e., an agreement among horizontal competitors in the relevant market.

See Opp’n 29; DAPC ¶ 770. Because Plaintiffs cannot plausibly plead a horizontal agreement,

they cannot show that any standalone sales agreement violated Section 1.

VII.     PLAINTIFFS’ COMPLAINT    FORECLOSES                          THEIR       INFORMATION
         EXCHANGE CLAIM (COUNT 5)

         To the extent anything remains of Plaintiffs’ standalone claim that defendants allegedly

shared confidential information in violation of Section 1 (Count 5), the Court should dismiss it.

As Plaintiffs concede (Opp’n 23), because the dissemination of information “does not invariably

have anticompetitive effects,” United States v. U.S. Gypsum Co., 438 U.S. 422, 441 n.16 (1978),

information exchanges are analyzed under the rule of reason, with courts considering factors such

as “the nature of the information exchanged” and “the structure of the industry” in evaluating the

potential for competitive harm. Id. Plaintiffs’ claim fails under this standard.10

         First, Plaintiffs do not seriously contest that their conclusory allegations of information



10
   Here, too, the DOJ SOI fundamentally undermines Plaintiffs’ case. With respect to Plaintiffs’
information exchange claim, DOJ argues only that “[t]o the extent Defendants suggest that competitors’
exchange of information through an intermediary cannot violate Section 1, this argument is contrary to
law.” DOJ SOI 7. But Defendants do not argue that categorical position—and do not need to. Plaintiffs’
claims fail because they have not adequately alleged that confidential information has been exchanged
either directly among MCOs or indirectly through MultiPlan. DAP MTD 33.


                                                 16
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 23 of 31 PageID #:3460




“pooling” and “commingling” are contradicted by the very source of those allegations in their

Complaint—the white papers they concede are incorporated by reference. Instead, they state in a

footnote that the white papers “do not discuss how MultiPlan uses competitor data.” Opp’n 24

n.12. But that’s the point: the documents that they relied upon as authoritative and from which

they based their “information sharing” allegations do not include the feature that Plaintiffs falsely

claim they do, and falsely insist is integral to Data iSight’s operation. DAPC ¶ 260. Plaintiffs

provide no alternative interpretation of the white papers to raise a plausible “factual dispute” over

whether MultiPlan uses clients’ pooled confidential data (it does not). Opp’n 24 n.12. Factual

allegations “contradicted in the complaint itself or in documents attached to it” should not be

credited. Atkins v. City of Chicago, 631 F.3d 823, 831-32 (7th Cir. 2011). And to the extent

Plaintiffs allege that each MCO sent its own confidential data MultiPlan, which stored (“pooled”)

that data in a single database, the Complaint never alleges that any MCO/TPA ever had access to

another MCO/TPA’s data in Data iSight, or that MultiPlan ever made such unaggregated or

unblinded data available to any MCO/TPA. In short, the Complaint does not allege that Data

iSight ever “enabled co-conspirators to tacitly communicate with one another, In re Loc. TV

Advert. Antitrust Litig., 2022 WL 3716202, at *6 (N.D. Ill. Aug. 29, 2022).

       Second, in lieu of allegations showing the sort of systematic, algorithmic information-

sharing that they claim (without support) in their Opposition, Plaintiffs rely on a handful of alleged

anecdotal episodes in which MultiPlan allegedly suggested as part of its marketing efforts to a

prospective customer that some customers use Data iSight in roughly the same way as others.

Opp’n 24. This sleight of hand fails, as Plaintiffs never plausibly allege that any of these supposed

marketing communications impacted any reimbursement that any provider received. See In re

Loc. TV Advert. Antitrust Litig., 2020 WL 3716202, at *8.




                                                 17
     Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 24 of 31 PageID #:3461




          Finally, Plaintiffs’ reliance on PlanOptix is misplaced.             Far from facilitating the

“dissemination of pricing strategy communications between payors,” Opp’n 6, PlanOptix makes

available public pricing data that the federal government requires health plans and hospitals to

publish to promote price transparency.11 Moreover, Plaintiffs have not alleged that any MCO or

TPA Defendants in this litigation have subscribed to PlanOptix since it was launched in June

2023—eight years after the alleged conspiracy began. DAPC ¶ 465.

VIII. PLAINTIFFS’ STATE LAW CLAIMS FAIL

          A.       State Law Antitrust Claims (Count 6)

          Plaintiffs assert that their state law antitrust claims are only brought “in the alternative” to

the extent Plaintiffs’ injuries are too attenuated to provide antitrust standing under federal law. See

Opp’n 36. Plaintiffs’ purported workaround is premised on the notion that “any state with an

Illinois Brick repealer would reject application of AGC” and the antitrust standing principles it

spells out. Id. (citation omitted). But courts cannot simply “assume” that “states that have enacted

Illinois Brick repealers also have abandoned AGC's antitrust standing requirement.” In re Dealer

Mgmt. Sys. Antitrust Litig., 362 F. Supp. 3d 510, 541 (N.D. Ill. 2019). Indeed, these states

“generally apply the same antitrust standing principles applied under federal law.” DAP MTD 36

n.7; see, e.g., McGarry & McGarry, LLC v. Bankr. Mgmt. Sols., 937 F.3d 1056, 1064-65 (7th Cir.

2019) (relying on the AGC factors to assess standing under the Illinois Antitrust Act).

          B.       “Consumer Protection” Claims (Count 7)

          Plaintiffs’ consumer protection claims also fail, as the Complaint “merely allege[s]” that

Plaintiffs’ “antitrust claims” are “also actionable under state consumer protection laws.” In re

Opana ER Antitrust Litig., 162 F. Supp. 3d 704, 726 (N.D. Ill. 2016); see DAP MTD 36–37.



11
     See PlanOptix, www.claritev.us/data-decision-science-services/planoptix/ (last visited Mar. 31, 2025).


                                                      18
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 25 of 31 PageID #:3462




Plaintiffs deny that this is what they are doing, but rely on allegations for their consumer protection

claims that prove the point. See Opp’n 37 (relying on allegations that Defendants “fix the prices

for OON services”). This Court should reject Plaintiffs’ attempt to “assert what are essentially

antitrust claims in the guise of a claim under . . . consumer protection statute[s].” In re Wellbutrin

XL Antitrust Litig., 260 F.R.D. 143, 162 (E.D. Pa. 2009); see In re Opana ER Antitrust Litig.,

162 F. Supp. 3d at 725-26. In any event, these claims fail too. Plaintiffs assert that Defendants’

“business practices [are] forbidden by law,” Opp’n 37, but point only to their antitrust claims,

which are deficient for the reasons articulated. And Plaintiffs’ Complaint does not adequately

allege that there is anything “unfair” or “fraudulent” about providing services that MCOs use to

control runaway healthcare costs. See DAP MTD 37.

       C.      Unjust Enrichment Claims (Count 8)

       Plaintiffs’ unjust enrichment claims should be dismissed because they are duplicative, and

Plaintiffs have an adequate remedy at law. See id. at 38-40. Plaintiffs do not meaningfully dispute

either point but argue the claims should survive because they are pled “in the alternative to all

other causes of action.” Opp’n 38. Not so. Because Plaintiffs’ “unjust enrichment claim[s] rest[]

on the same [alleged] conduct” as the antitrust claims, they “stand or fall” together. Mish Int’l

Monetary Inc. v. Vega Cap. London, Ltd., 596 F. Supp. 3d 1076, 1099 (N.D. Ill. 2022) (citing

Cleary v. Philip Morris Inc., 656 F.3d 511, 516 (7th Cir. 2011)).

       Plaintiffs’ unjust enrichment claims also fail because Plaintiffs have simply “listed claims

under various state laws” rather than “truly pleaded claims under those laws sufficient to show

their entitlement to recovery.” In re Opana ER Antitrust Litig., 162 F. Supp. 3d at 725-26.

Plaintiffs attempt to excuse their failure to include any state-specific allegations on the ground that

the common law elements of unjust enrichment are “materially the same throughout the states.”

Opp’n 38. But, as courts have recognized, “there are a number of material differences among the


                                                  19
     Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 26 of 31 PageID #:3463




states’ laws on unjust enrichment.” See, e.g., Gustafson v. BAC Home Loans Servicing, LP, 294

F.R.D. 529, 548-49 (C.D. Cal. 2013) (collecting cases).12

IX.      THERE ARE INADEQUATE ALLEGATIONS AS TO MANY DEFENDANTS

         Finally, Defendants’ opening brief demonstrates that several TPA Defendants are only

mentioned in generic and conclusory passing references that do not satisfy pleading

standards. Plaintiffs offer no serious rejoinder, simply assertions that “MultiPlan has ‘horizontal

pricing agreements’ with each of [the TPAs].” Opp’n 36. But the conclusory allegation that these

TPA Defendants merely contracted with MultiPlan as a service provider to use Data iSight at some

point in time—2023 for both BPA and Consociate—cannot support claims against those

Defendants. DAPC ¶¶ 186, 189. Indeed, Plaintiffs provide an illustration of the Complaint’s

endemic shortcomings by suggesting that one defendant (Consociate) can be hauled into an MDL

antitrust action based on a photograph of representatives having a cocktail with a MultiPlan

representative in 2021—several years after the purported formation of the conspiracy. But the

“decision by a group of industry players to have a meeting or to talk at a dinner or cocktail reception

does not constitute a conspiracy.” In re Text Messaging Antitrust Litig., 46 F. Supp. 3d 788, 806

(N.D. Ill. 2014), aff’d, 782 F.3d 867 (7th Cir. 2015); DAP MTD 24. The Complaint fails to “offer

some evidence that moves beyond speculation about the content of what was conveyed” and the

alleged meeting. Kleen Prods. LLC v. Georgia-Pacific LLC, 910 F.3d 927, 938 (7th Cir. 2018).

                                           CONCLUSION
         Defendants respectfully request that the Court dismiss the Complaint with prejudice.


12
   For example, some states, including New York, “permit plaintiffs to recover where the benefit was
indirectly conferred” while others, including Florida, have established a “direct benefit requirement.”
Kunzelmann v. Wells Fargo Bank, N.A., 2013 WL 139913, at *10 (S.D. Fla. Jan. 10, 2013). Plaintiffs
purport to bring unjust enrichment claims “under the laws” of both jurisdictions, see DAPC ¶ 840, but make
no attempt to grapple with the nuances of what these states—and others—require plaintiffs to allege for
unjust enrichment, see also, e.g., Thompson v. Jiffy Lube Int’l, Inc., 250 F.R.D. 607, 626 (D. Kan. 2008)
(taking note of other “variances in the state common laws of unjust enrichment”).


                                                   20
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 27 of 31 PageID #:3464




Dated: April 2, 2025

Respectfully Submitted,

/s/ Sadik Huseny                           /s/ E. Desmond Hogan (w/ consent)
Sadik Huseny (pro hac vice)                E. Desmond Hogan
LATHAM AND WATKINS LLP                     Justin W. Bernick
300 Colorado Street, Suite 2400            W. David Maxwell (pro hac vice)
Austin, TX 78701                           HOGAN LOVELLS US LLP
Telephone: (737) 910-7300                  555 Thirteenth Street, N.W.
sadik.huseny@lw.com                        Washington, D.C. 20004
                                           Telephone: (202) 637-5600
Gary Feinerman (IL Bar No. 6206906)        desmond.hogan@hoanlovells.com
LATHAM AND WATKINS LLP                     justin.bernick@hoganlovells.com
330 N Wabash Avenue, Suite 2800            david.maxwell@hoganlovells.com
Chicago, IL 60611
Telephone: (312) 876-7700                  Jordan D. Teti
gary.feinerman@lw.com                      HOGAN LOVELLS US LLP
                                           1999 Avenue of the Stars, Suite 1400
Lawrence E. Buterman (pro hac vice)        Los Angeles, CA 90067
Katherine A. Rocco (pro hac vice)          Telephone: (310) 785-4600
LATHAM AND WATKINS LLP                     jordan.teti@hoganlovells.com
1271 Avenue of the Americas
New York, NY 10020                         Attorneys for Defendants Elevance Health, Inc.;
Telephone: (212) 906-1200                  Horizon Healthcare Services, Inc. (Horizon
lawrence.buterman@lw.com                   Blue Cross and Blue Shield of New Jersey);
katherine.rocco@lw.com                     BCBSM, Inc. (Blue Cross and Blue
                                           Shield of Minnesota); Aware Integrated, Inc.;
Anna M. Rathbun (pro hac vice)             Blue Cross and Blue Shield of Massachusetts,
Molly Barron (pro hac vice)                Inc.; and CareFirst, Inc.
Graham B. Haviland (pro hac vice)
LATHAM AND WATKINS LLP                     /s/ Katherine A. Trefz (w/ consent)
555 Eleventh Street, NW                    Jonathan B. Pitt
Suite 1000                                 Katherine A. Trefz
Washington, DC 20004                       Feyilana Lawoyin
Telephone: (202) 637-2200                  WILLIAMS & CONNOLLY LLP
anna.rathbun@lw.com                        680 Maine Avenue, S.W.
molly.barron@lw.com                        Washington, DC 20024
graham.haviland@lw.com                     Telephone: (202) 434-5000
                                           jpitt@wc.com
Craig Lewis Caesar (IL Bar. No 3121593)    ktrefz@wc.com
PHELPS DUNBAR LLP                          flawoyin@wc.com
365 Canal Street, Suite 2000
New Orleans, LA 70130                      Attorneys for Defendant Aetna Inc.
Telephone: (504) 584-9272
craig.caesar@phelps.com


                                          21
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 28 of 31 PageID #:3465




Errol J. King (pro hac vice)                    /s/ Daniel R. Campbell (w/ consent)
Katherine Mannino (pro hac vice)                Daniel R. Campbell
PHELPS DUNBAR LLP                               Emilie E. O’Toole
II City Plaza                                   MCDERMOTT, WILL & EMERY LLP
400 Convention Street, Suite 1100               444 West Lake Street, Suite 4000
Baton Rouge, LA 70802                           Chicago, IL 60606
Telephone: (225) 376-0279                       Telephone: (312) 984-7782
errol.king@phelps.com                           dcampbell@mwe.com
katie.manino@phelps.com                         eotoole@mwe.com

Attorneys for Defendants MultiPlan, Inc.;       Joshua B. Simon (pro hac vice)
Claritev Corporation; National Care Network,    Warren Haskel (pro hac vice)
LLC; Viant Payment Systems, Inc.; Viant,        Dmitriy G. Tishyevich (pro hac vice)
Inc.; and Medical Audit & Review Solutions,     Caroline Incledon (pro hac vice)
Inc.                                            Chelsea Edith Rae Cosillos (pro hac vice)
                                                MCDERMOTT, WILL & EMERY LLP
/s/ William J. Sheridan (w/ consent)            One Vanderbilt Avenue
William J. Sheridan (pro hac vice)              New York, NY 10017
Courtney Bedell Averbach (pro hac vice)         Telephone: (212) 547-5444
Leah E. Hungerman (pro hac vice)                jsimon@mwe.com
REED SMITH LLP                                  whaskel@mwe.com
225 Fifth Avenue                                dtishyevich@mwe.com
Pittsburgh, PA 15222                            cincledon@mwe.com
(412) 288-3131                                  ccosillos@mwe.com
wsheridan@reedsmith.com
caverbach@reedsmith.com                         Attorneys for Defendant The Cigna Group
lhungerman@reedsmith.com
                                                /s/ Brian P. Kavanaugh (w/ consent)
Counsel for Defendant Highmark Health           Brian P. Kavanaugh
                                                Scott D. Stein
/s/ James W. Davidson (w/ consent)              SIDLEY AUSTIN LLP
James W. Davidson                               One South Dearborn
Riley B. Olson                                  Chicago, IL 60603
O’HAGAN MEYER LLC                               Telephone: (312) 853-7000
One East Wacker Drive, Suite 3400               bkavanaugh@sidley.com
Chicago, Illinois 60601                         sstein@sidley.com
Telephone: (312) 422-6100
jdavidson@ohaganmeyer.com                       Attorneys for Defendant Health Care
rolson@ohaganmeyer.com                          Service Corporation and the Central States
                                                Southeast and Southwest Health and
Attorneys for Defendant Secure Health Plans     Welfare Fund
of Georgia, L.L.C.




                                               22
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 29 of 31 PageID #:3466




/s/ Scott Jared Fisher (w/ consent)      /s/ Stephen D. Libowsky (w/ consent)
Scott Jared Fisher                       Stephen D. Libowsky (IL Bar No. 6187081)
Eric Y. Choi                             Rebecca A. Finkel (IL Bar No. 6317199)
NEAL, GERBER & EISENBERG                 MANATT, PHELPS & PHILLIPS, LLP
Two North LaSalle Street, Suite 1700     151 North Franklin Street
Chicago, IL 60602                        Chicago, Illinois 60606
Telephone: (312) 269-8035                Telephone: (312) 529-6300
sfisher@nge.com                          slibowsky@manatt.com
echoi@nge.com                            rfinkel@manatt.com

Rachel S. Brass (pro hac vice)           Ileana Hernandez (pro hac vice)
Henry H. Cornillie                       HERNANDEZ LASKA LLP
GIBSON, DUNN & CRUTCHER LLP              3415 South Sepulveda Blvd., Suite 1100
One Embarcadero Center, Suite 2600       Los Angeles, CA 90034
San Francisco, CA 94111                  Telephone: (310) 742-5816
Telephone: (415) 393-8293                ihernandez@hernandezlaska.com
rbrass@gibsondunn.com
hcornillie@gibsondunn.com                Attorneys for Defendant Sanford Health Plan

Joshua Lipton (pro hac vice)            s/ John J. Hamill (w/ consent)
Kristen C. Limarzi (pro hac vice)       John J. Hamill
GIBSON, DUNN & CRUTCHER LLP             john.hamill@us.dlapiper.com
1700 M Street, N.W.                     Michael S. Pullos
Washington, DC 20036                    michael.pullos@us.dlapiper.com
Telephone: (202) 955-8500               DLA PIPER LLP (US)
jlipton@gibsondunn.com                  444 West Lake Street, Suite 900
klimarzi@gibsondunn.com                 Chicago, Illinois 60606
                                        Tel: 312.368.3423
Heather L. Richardson (pro hac vice)    Fax: 312.251.5728
GIBSON, DUNN & CRUTCHER LLP
333 South Grand Avenue                  Attorneys for Defendants Benefit Plan
Los Angeles, CA 90071                   Administrators of Eau Claire, LLC and
Telephone: (213) 229-7000               Consociate, Inc. (Consociate Health)
hrichardson@gibsondunn.com

Attorneys for Defendant UnitedHealth
Group, Inc




                                       23
 Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 30 of 31 PageID #:3467




/s/ Christopher S. Moore(w/ consent)          /s/ Jason C. Murray (w/ consent)
Christopher S. Moore (IL Bar. No. 6256418)    Jason C. Murray (pro hac vice)
CHRIS MOORE LAW LLC                           Jordan L. Ludwig (pro hac vice)
220 North Green Street                        CROWELL & MORING LLP
Suite 4031                                    515 South Flower Street, 40th Floor
Chicago, Illinois 60607                       Los Angeles, CA 90071
Telephone: (312) 704-4444                     Telephone: (213) 662-4750
chris@chrismoorelaw.com                       jmurray@crowell.com
                                              jludwig@crowell.com
Richard G. Douglass (IL Bar. No. 6282777)
DOUGLASS P.C.                                 Jason P. Stiehl
77 W. Wacker Drive                            CROWELL & MORING LLP
Suite 4500                                    455 North Cityfront Plaza Drive Suite 3600
Chicago, IL 60601                             Chicago, IL 60611
Telephone: (312) 216-5145                     Telephone: (312) 321-4200
rich@douglasspc.com                           jstiehl@crowell.com

Attorneys for Defendant Allied National,      Ashley L. McMahon (pro hac vice)
LLC                                           CROWELL & MORING LLP
                                              1001 Pennsylvania Avenue, N.W.
                                              Washington, D.C. 20004
                                              Telephone: (202) 624-2500
                                              amcmahon@crowell.com

                                              Attorneys for Defendant Kaiser Foundation
                                              Health Plan, Inc.




                                             24
  Case: 1:24-cv-06795 Document #: 388 Filed: 04/02/25 Page 31 of 31 PageID #:3468




                               CERTIFICATE OF SERVICE

        I, Sadik Huseny, hereby certify that on this 2nd day of April, 2025, I caused the foregoing

to be electronically filed with the Clerk of the Court of the United States District Court for the

Northern District of Illinois, Eastern Division, using the CM/ECF system, which sent notification

of such filing to all filing users.



                                                 /s/ Sadik Huseny
                                                 Sadik Huseny




                                                25
